                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL                  :   CIVIL ACTION NO. 1:19-CV-622
FOUNDATION,                                :
                                           :   (Judge Conner)
             Plaintiff                     :
                                           :
             v.                            :
                                           :
LEIGH M. CHAPMAN, Acting                   :
Secretary of the Commonwealth              :
of Pennsylvania, and JONATHAN              :
M. MARKS, Deputy Secretary for             :
Elections and Commissions,                 :
                                           :
                    Defendants             :

                                       ORDER

      AND NOW, this 25th day of October, 2022, upon consideration of plaintiff’s

motion (Doc. 117) for an extension of case management deadlines, and upon further

consideration of defendants’ opposition (Doc. 118) to said motion, and the court

noting that the parties agree that extensions are necessary but disagree as to the

appropriate length, (see Doc. 117 at 3; Doc. 188 at 1, 4-5), and the court observing

that the forthcoming election places a special burden on defendants’ legal

resources, but also observing that litigation in the above-captioned matter has been

protracted and that plaintiff has a genuine need to obtain the information sought in

a timely fashion, the court finding that good cause for an extension of the case

management deadlines has been shown, , see FED. R. CIV. P. 16(b)(4), it is hereby

ORDERED that:

      1.     The joint motion (Doc. 117) is GRANTED as set forth below.
2.   The dates and deadlines applicable to the above-captioned civil action
     shall be as follows:

     a.    Defendants may file a reply brief in further support of their
           motion for clarification and partial reconsideration on or before
           November 11, 2022.

     b.    Plaintiff shall file a reply brief in opposition to defendants’
           motion to alter or amend judgment on or before November 11,
           2022.

     c.    Defendants may file a reply brief supporting defendants’ motion
           to alter or amend judgment on or before November 25, 2022.

     d.    Parties may file motions for attorneys’ fees, costs, and expenses
           pursuant to 52 U.S.C. § 20510(c) on or before December 16, 2022.

     e.    Parties shall file opposition briefs in response to any motions for
           attorneys’ fees, costs, and expenses on or before January 6,
           2023.

     f.    Parties may file reply briefs in further support of their motion
           for attorneys’ fees, costs, and expenses on or before January 20,
           2023.

3.   The motion (Doc. 117) is otherwise denied.



                               /S/ CHRISTOPHER C. CONNER
                               Christopher C. Conner
                               United States District Judge
                               Middle District of Pennsylvania
